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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA
                                   WASHINGTON, DC

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §        CRIMINAL NO. 1:21-C00060-CKK
                                                 §
JESUS D. RIVERA                                  §


               DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW Defendant, through Counsel, and requests a continuance of the deadlines

and trial in this case.

        Yesterday, This Honorable Court issued a scheduling order in the instant case, with

deadlines for motions commencing December 28, 2021 and trial commencing March 14, 2022.

        However, the parties are still conducting discovery in this case. The Government has

recently provided “Global Discovery 9” and may be producing more such discovery over the

foreseeable future. The discovery already provided is voluminous and Defendant and Defense

Counsel are going through it, diligently, but slowly.

        Additionally, Defense Counsel has a murder trial in Georgia starting on February 28, 2022,

that is expected to take three weeks, ending around March 18, 2022. [U.S. v. Jonathan Lauture.]

        Further, Defense Counsel has numerous other settings in Federal, State, and military courts

scheduled for trial or other resolution between now and the middle of May, 2022.

        Therefore, Defense Counsel very respectfully requests that the deadlines in this case be

continued approximately 2 and one-half months, with trial to commence the first week of June,

2022.
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       Defense Counsel has discussed this motion with Assistant U.S. Attorney John Borchert,

who is unopposed to our request.

       WHEREFORE, premises considered, the Defendant very respectfully requests that This

Honorable Court grant this unopposed motion for continuance.


                                                  Very respectfully,

                                                  /S/ Guy L. Womack

                                                  Guy L. Womack
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                                   CERTIFICATE OF SERVICE

     A copy of the foregoing was delivered via CM/ECF to the U. S. Attorney’s Office on this
  nd
22 day of December, 2021.

                                                  /S/ Guy L. Womack
                                                  Guy L. Womack
